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                               United States District Court
                               Southern District of Florida
                         Case No. 14-23933-Civ-Huck/Otazo-Reyes

    JOHN DOE #1, et al.,

           Plaintiffs,

    v.

    MIAMI-DADE COUNTY, et al.,

           Defendants.


                          Joint Planning and Scheduling Report

          The parties hereby submit the following Joint Planning and Scheduling Report pursuant to

  Rule 26(f) of the Federal Rules of Civil Procedure, Rule 16.1 of the Local Rules of the Southern

  District of Florida, and the Court’s direction at the status conference held on May 1, 2017 [D.E. 82].

  Accordingly, the parties report the following:

     1.   Plain Statement of the Claim and Any Counterclaim: In this action, the only remaining

          claim is Count IV from the Amended Complaint [D.E. 25] relating to whether the County’s

          Ordinance is an unconstitutional ex post facto law. The only remaining Plaintiffs are John Doe

          #1 and John Doe #3. The only remaining defendant is Miami-Dade County. There is no

          counterclaim.

     2. Summary of Uncontested Facts: Presently, Miami-Dade County has an ordinance which

          prohibits sexual offenders convicted of sexual battery, lewd and lascivious conduct, sexual

          performance by a child, sexual acts transmitted over computer, or selling or buying of minors

          for portrayal in sexually explicit conduct, and whose victims were 15 years of age or less from

          establishing a new residence within 2,500 feet of any school in both the incorporated and


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        unincorporated areas of Miami-Dade County.

     3. Summary of the Issues Presently Known: As described above, the only remaining issue

        in this case is whether the County’s Ordinance is an unconstitutional ex post facto law.

     4. Discovery Phases: The parties propose that discovery should not be conducted in phases

        or be limited to any particular issues.

     5. Discovery Schedule: The parties agree that this case should be placed on the standard

        discovery track pursuant to Local Rule 16.1(a)(2)(B).

     6. Proposed Deadlines: The parties propose the following deadlines:

        June 23, 2017     Joinder of Parties and Amendment of Pleadings.

        Aug. 11, 2017     All parties shall furnish opposing counsel with a written list containing the
                          names and addresses of all expert witnesses intended to be called at trial.

        Oct. 11, 2017     All parties shall furnish opposing counsel with a written report from each
                          expert intended to be called at trial. Within thirty (30) days, all parties shall
                          make their experts available for deposition by opposing counsel. The
                          experts’ depositions may be conducted without further order from the
                          Court.

        Nov. 12, 2017     All parties shall furnish opposing counsel with a written list containing the
                          names and addresses of all rebuttal expert witnesses intended to be called
                          at trial.

        Dec. 11, 2017     All parties shall furnish opposing counsel with a written report from each
                          rebuttal expert intended to be called at trial. Within thirty (30) days, all
                          parties shall make their rebuttal experts available for deposition by
                          opposing counsel. The rebuttal experts’ depositions may be conducted
                          without further order from the Court.

        Feb. 9, 2018      All discovery shall be completed.

                          NOTE: ln the event that there are any unresolved discovery motions
                          pending fifteen (15) days prior to this date, the moving party shall
                          immediately advise the Court of all such unresolved motions together
                          with their status.

        Mar. 9, 2018      All summary judgment, other dispositive motions, and Daubert motions
                          must be filed.




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         Apr. 20, 2018     All motions in limine and other pretrial motions (other than Daubert
                           motions) must be filed.

         May 4, 2018       Joint Pretrial Stipulation must be filed.



     7. Proposed Dates for Final Pre-Trial Conferences and Trial:

           Week of          Proposed Approximate date for Pre-Trial Conference
           May 11, 2018

           Week of          Proposed Trial Period.
           May 18, 2018


     8. Time for Trial and Need for Jury: The parties anticipate 2-5 days for a bench trial.

     9. Pending Motions: There are presently no motions pending.

     10. Unique Legal or Factual Aspects of Case: The parties do not anticipate any unique legal

         or factual aspects of the case requiring special consideration by the Court.

     11. Need for Magistrate: The parties consent to the Magistrate hearing matters related to

         discovery.

     12. Status and Likelihood of Settlement: At this point in time, the parties do not believe that

         this case presents a high likelihood of settlement. The parties will continue however to discuss

         this issue in good faith throughout the pendency of the case, and the parties will apprise the

         Court should the likelihood of settlement improve.

     13. Other Matters as Required by Local Rule 16.1(B): The parties do not anticipate any need

         for the Manual on Complex Litigation, nor any need for rule variations such as deposition

         length or number of depositions.

         WHEREFORE, the parties submit the above planning and scheduling report and request

  that the Court adopt the above scheduling agreements in this case.




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  Dated: May 8, 2017

  Respectfully submitted,

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